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                                NO. 16-17050

                 UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT

                                      ***


PATRICIA HARDING MORRISON,               D.C. No.: 2:12-cv-00952-APG-VCF
For the Estate of Tommy Morrison,
             Pro Se Plaintiff-Appellant, Nevada (Las Vegas)

v.

QUEST DIAGNOSTICS, et al.

           Defendants-Appellees.


                  Appeal from the United States District Court
                           for the District of Nevada

                    APPELLEES’ ANSWERING BRIEF

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                                         I.

                         CORPORATE DISCLOSURE

   FRAP 26.1 is not required for governmental entities.

                                         II.

                      STATEMENT OF JURISDICTION

      This is Patricia Harding Morrison’s (“Morrison”) appeal from the Judgment

of the District Court granting summary judgment to the Nevada State Athletic

Commission, Dr. Margaret Goodman and Executive Director Marc Ratner (“State

Defendants”). 2016 WL 6246306, 101 Fed. R. Evid. Serv. 1071, SEOR 1 – 15.

This Court has jurisdiction for this appeal pursuant to FRCP Rule 3(a).

                                        III.

        STATEMENT OF THE ISSUES PRESENTED FOR REVIEW

      1. Are all of the claims in the Amended Complaint time barred?

         a. Ms. Morrison’s claims for negligence, defamation, fraud, negligent

            misrepresentation intentional infliction of emotional distress, and

            intentional interference with a contract were brought outside of the

            governing statutes of limitations and correctly dismissed by the Court

            below.

         b. Ms. Morrison claim to toll the statutes of limitations is irrelevant

            because tolling was not raised in the court below.


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         c. Ms. Morrison was not the administrator or executor within the one

             year jurisdictional limitation to bring a survivorship action, pursuant

             to NRS 41,100 and NRS 11.310.

      2. Does the failure of Ms. Morrison to timely appeal the Magistrate’s

         Orders preclude appeal of non-dispositive motions?

      3. Did the District Court below correctly find that there is no genuine

         dispute as to any material fact and that the State Defendants are entitled

         to summary judgment as a matter of law?

      4. Should the NSAC, its Executive Director, and Chairman of the Medical
         Advisory Board been dismissed because they are immune from suit?

                                         III.

                    CONCISE STATEMENT OF THE CASE

             This matter concerns events that took place in February 1996. Tommy

Morrison (“Boxer”) was an applicant for a license to take part in unarmed combat in

Nevada. In Nevada, unarmed combat is governed by Chapter 467 of the Nevada

Revised Statutes (“NRS”) and Nevada Administrative Code (“NAC”). The Nevada

Legislature vested the Nevada State Athletic Commission (“NSAC”) “with the sole

direction, management, control and jurisdiction over all contests or exhibitions of

unarmed combat to be conducted, held or given within the State of Nevada, and no

contest or exhibition may be conducted, held or given within this state except in

accordance with the provisions of this chapter.” NRS 467.070(1). The NSAC
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employs an Executive Director who acts at the will of the Commission. NRS

467.040.

      In order to take part in professional bout of unarmed combat (Boxing, MMA

or Kickboxing) in the State of Nevada, a person must obtain a license from the

NSAC. NRS 467.070(1), NRS 467.100, NAC 467.012. A professional license to

fight is a privilege license. The applicant has the burden to show “general

suitability, character, integrity, and ability to participate or engage in, or be

associated with contests or exhibitions of unarmed combat.”1 NRS 467.100(3),

NAC 467.027(1). To compete, the applicant must comply with all the medical

requirements found in the NRS and NAC, including, but not limited to: NRS

467.100, NAC 467.012, NAC 467.022, NAC 467.027, and NAC 467.077. SEOR

200 – 202. One of the requirements is to provide a laboratory test that shows that

the applicant is not infected with the human immunodeficiency virus (“negative

test”).2 NAC 467.027(3)
      1
          It is the responsibility of the applicant to provide all the medicals and

requirements to be licensed. NAC 467. 022; SEOR 509: 341:14-18; SEOR 510:

343:18-25; SEOR 511: 352,10-17; SEOR 194-197; SEOR 200 – 202.
      2
           Contrary to Ms. Morrison’s argument, a “diagnosis” is not

required. Only that the applicant show that he (or she) is not carrying

the HIV virus which is a negative HIV test NAC 467.027(3).

                                           3
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      On or about February 7, 1996, the Boxer applied for a license to compete on

February 10, 1996 in Nevada. The Boxer arrived in Las Vegas three days before

the scheduled bout with an incomplete application. He was missing his required

medical examinations and tests. SEOR 150-151, SEOR 194-197, SEOR 200-202.

Specifically, the Boxer had not submitted a negative test to show that he was not

infected with the human immunodeficiency virus (“HIV”), although he could have

had the test performed at any accredited laboratory within 30 days of submitting

his application. NAC 467.027(3)(b). The Boxer told his examining physician, Dr.

Voy, that he refused to take the test for religious reasons. SEOR 150-151.

      The executive director, Marc Ratner, let the Boxer know that he did not have

to take the test, but without it, he could not be licensed and the fight would be

cancelled. SEOR 196:8-16. Dr. Voy ordered the test on February 8, 1996, and the

HIV test was performed. SEOR 1065. The weigh-in was on February 9, 1996, and

the Boxer was allowed to take part in the weigh-in but was not issued a license

because his medicals were incomplete. SEOR 196:16-19

      In the early afternoon of February 10, 1996, Executive Director Ratner was

informed by the Commission Chairman that the Boxer had not provided a negative

HIV test, and that the bout would be cancelled. SEOR 196:24-27. Director Ratner

was also informed by the Chairman of the Commission not to provide any specific

reason, and only explain that the Boxer did not have medical clearance. SEOR 197:


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1-3.

       Director Ratner met with the Boxer’s personal representative, Tony Holden,

as well as the Boxer’s personal friend and attorney Stuart Campbell, and explained

that the bout was to be cancelled because the Boxer did not have medical

clearance. SEOR 197:4-7. On February 10, 1996, the Boxer was not issued a

license because he did not submit a negative HIV test. SEOR 200-202.

       The Boxer immediately left Las Vegas and returned to his home in

Oklahoma. Upon return to Oklahoma, in Mr. Holden presence, the doctor drew

blood from the Boxer and sent it to a laboratory for HIV testing. The laboratory

confirmed the positive results within a week of returning from Las Vegas. SEOR

331, p. 45:18-25, SEOR 332, p. 48:11-18; SEOR 334, p. 57:1-10, 56:22-25; SEOR

345, p. 101:20-23, see also SEOR 148.

       The Boxer’s first wife (“Dawn I”), was also with the Boxer for the blood

tests performed when he returned to Oklahoma from Las Vegas in February 1996.

She also witnessed the blood draw and testified that the results of the tests

confirmed that the Boxer was positive for HIV. SEOR 380-381. The Boxer told

Dawn I that the reason that he was retested several times was to make sure that the

HIV test results were positive. SEOR 380, SEOR 382. Thus, the Boxer did not rely

on the 1996 Las Vegas test.

   After receiving the additional results from tests performed after the Boxer’s


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return to Oklahoma, Tony Holden held a press conference in Tulsa where Mr.

Holden announced, for the first time, in the presence of the Boxer, that the Boxer

had tested positive for HIV. SEOR 148; SEOR 332, p. 47:3-6, 8-21. Later that

same day, the Boxer was interviewed by Larry King and later by Maria Shriver.

During both interviews, the Boxer personally announced to the world that he had

tested positive for HIV, and that he had been retested to confirm the results. SEOR

332, p. 49:15-21, SEOR 333, p. 52:6-16, SEOR 251, p. 70:18-25, SEOR 381, p.

52:17-25, 53:1-2, SEOR 382, 57:21-25,

SEOR 383, p. 58:1-25.

   Additionally, around the same time, the Boxer’s friend and personal physician,

Dr. Koprivica, personally drew 2 vials of blood from the Boxer and sent the vials

of blood to the CDC, to perform two separate HIV tests. SEOR 160, SEOR 212, p.

23:5-25, 24,1-9; SEOR 346, pp. 103-104. The HIV tests came back from the CDC

as positive showing a very high viral load. Doctor Koprivica suggested that the

Boxer see an infectious disease specialist. SEOR 212, p. 25:8-23.

   Within a few weeks, Mr. Holden accompanied the Boxer to see HIV specialist,

Dr. Ho in New York. Dr. Ho is the same HIV specialist who treated Magic

Johnson. SEOR 332, p. 46:6-11, SEOR 333, p. 52:10-20. Dr. Ho tested the Boxer

and confirmed that he was positive for HIV. SEOR 333, p. 53:7-25. The evidence

in the record shows that Morrison consistently tested positive for HIV. SEOR 399,


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pp. 124:24-25, 125:1-7. (“I was there when the doctors told him that he was HIV

positive” they looked at his “lab results with T-Cell- - T-Cell counts).

      By the late 1990’s the Boxer’s positive HIV status progressed into AIDS.

One of his physicians, Dr. Nemachek, told the Boxer, in the presence of Dawn I,

that his HIV was progressing into AIDS. SEOR 387, p. 76:14-25. In 1999, another

of the Boxer’s physicians, Dr. Hennigan, noted that the Boxer’s T-Cell count was

only 4 and his viral load was greater than 75,000 and the Boxer was suffering from

HIV associated encephalopathy. SEOR, pp. 1023-1027, 1001-1010.

      Mr. Holden testified that he was present when Morrison was told that he

actually had AIDS in 1996 or 1997. SEOR 334, p. 57:3-11.

      The medical records, which reflect the Boxer’s medical condition from 1996

until his death in 2013 conclusively show that the 1996 test was not a false

positive, and that the Boxer tested positive for HIV more than a hundred times

until his death in 2013. SEOR 744-922. From the time that Ms. Morrison met the

Boxer in the spring of 2009, they were both in denial of the Boxer’s HIV. SEOR

649-650. (“We have provided her on numerous occasions with documentation

from our institution which does show, without a doubt, the patient Is HIV positive,

in fact, basically is at end-stage AIDS”), SEOR 651-653. (“Nursing staff do tell

me that the patient’s wife has informed them that the patient does not have HIV”).




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      Ms. Morrison, the Boxer’s third wife, initiated this case after the Boxer’s

death claiming that the Boxer was falsely diagnosed with HIV in 1996, and that the

alleged false diagnosis ruined his life. The case started as a claim for negligence

and other state law claims, but it appears from her list of issues in this Appeal that

she is trying to raise issues that were not part of the Amended Complaint. SEOR

624-646. see also Ms Morrison’s list of Issues for Review.

      It is extremely relevant that Ms. Morrison testified that she has no personal

knowledge of any event prior to the spring of 2009 when she met the Boxer.3

      3
          SEOR 443, pp. 74:1-25, 75:1-25, 76:1-25, 77:1-16 (No first-hand

knowledge of the agreement with Don King, who drafted it, if it was signed, where

the rest of the document is, if there were further negotiations after Morrison lost to

Lennox Lewis); SEOR 448, pp. 97:3-11, 22-23, SEOR 449, p. 98:1-4 (no firsthand

knowledge about the arrangements and who was present in Las Vegas with

Morrison in February 1996); SEOR 454, p. 121:5-16 (no knowledge as to how

Morrison found Dr. Voy or if anyone was with him when he went to see Dr. Voy);

SEOR 455, p. 124:1-4 (no firsthand knowledge of what transpired during

Morrison’s physical examination by Dr. Voy); SEOR 455, p. 125:16-23, SEOR

465, p. 165:10-15 (no knowledge of any circumstances surrounding the blood draw

including who drew the blood or where the blood was drawn for the HIV test in

February 1996); SEOR 457, p. 130:14-18 (no knowledge whether it was standard

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      On September 24, 2016, the District Court granted the Defendants summary

judgment on all causes of action.      Not only were the claims barred by the

applicable statutes of limitation, but Ms. Morrison failed to provide any evidence

to support any of her state law claims. SEOR 001-015.

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                                        IV.

                         SUMMARY OF ARGUMENT

   1. The Claims are time barred

at the weigh in to sign a consent form); SEOR 463-464 (no knowledge of the

specific brands of the tests used by Quest in February 1996 to test Morrison’s

blood); SEOR 467, p. 173:16-17, SEOR 490, p. 265:5-12 (no specific knowledge

of what Marc Ratner told Tony Holden), SEOR 486, p. 176:13-18 (no knowledge

of who announced that the fight was cancelled); SEOR 469,178:21-24 (does not

know if anyone from the NSAC announced the reason for the cancellation of the

bout), SEOR 471, p. 186:3-10 (Does not know if the Boxer ever had HIV antibody

testing performed after he left Las Vegas in 1996).




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         a. All causes of action are barred by the governing Statutes of
            Limitations

      All of the claims in the Amended Complaint (SEOR 624-646) are barred

under the applicable statutes of limitation. Claims accrue when the plaintiff has a

complete and present cause of action and can file suit to obtain relief. Wallace v.

Kato, 549 U.S. 384, 388 (2007). This occurs when the plaintiff knows, or has

reason to know, of the alleged events that form the basis of the cause of

action. McCoy v. San Francisco, 14 F.3d 28, 29 (9th Cir. 1994).

      As will be shown below, the evidence in the record shows that starting in

1996, and continuing throughout the rest of his live, the Boxer began to dispute the

fact that he was HIV positive. As late as July 15, 2011, an email produced by Ms.

Morrison between the Boxer and his 1996 attending physician in Las Vegas, Dr.

Voy, confirms that Dr. Voy did not diagnose the Boxer with HIV:

      “Hello Tommy, I certainly support your desire to get a boxing

      license. You are correct; I did not diagnose you as having AIDS. I

      did your required licensing exam and found you physically qualified

      and fit to box at the time.”

SEOR 743.

      Thus, contrary to the assertion of Ms. Morrison that she first realized in

December 2013 that Dr. Voy had not diagnosed the Boxer with HIV, the Boxer and



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Ms. Morrison4 were well aware of Dr. Voy’s position back in July 2011.5 If the

Boxer believed that there was some legal basis for an action, the Boxer could have

brought the claims prior to his 2013 death, but never did.

       Even using the July 15, 2011 email from Dr. Voy as the latest possible date

that confirmed to the Boxer that the attending physician did not diagnose him with

HIV prior to the cancelled bout in February 1996, the 2 year statute of limitations

on the negligence claim would have run on July 14, 2013 (NRS 11.190(4)(e)), the

2 year statute of limitations for Defamation (including libel and slander) would

have also run on July 14, 2013 (NRS 11.190(4)(e)), the 3 year statute of limitations

for the fraud claim would have run on July 14, 2014 (NRS 190(3)(c)), the 2 year

statute of limitations on the negligent          misrepresentation claim would have

run on July 14, 2013 (NRS 11.190(4)(e)), the 2 year statute of limitations on the

intentional infliction of emotional distress claim would have run on July 14, 2013

(NRS 11.190(4)(e)), and the        3 year statute of limitations for the intentional

interference with a contract would have run on July 14, 2014 (NRS 190(3)(c)).

Thus, although the claims probably accrued as early as 1996, and even giving

Ms. Morrison the benefit of the most recent date that the claims accrued, the statute

      4
          The July 15, 2011 email was part of Ms. Morrison’s disclosures.
      5
          More than 3-1/2 years before the December 13, 2014 date as alleged by

Ms. Morrison in the Amended Complaint.

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of limitations had run for all of the state law claims prior to the time that the

Complaint was filed.

           a. Tolling cannot be considered because it was raised for the first
              time in this appeal.

      Ms. Morrison never raised tolling in the Court below, and cannot           raise it

now for the first time on appeal. Evans v. Alliance Funding, 637 Fed. Appx. 418

(9th Cir. 2016). The Federal Court applies state law to state law claims and also

uses the state law tolling rules. See generally Walker v. Armco Steel Corp, 466

U.S. 740 (1978), Centaur Classic Convertible Arbitrage Fund Ltd. V. Countrywide

Financial Corp, 878 F. Supp. 2d, 1009, 1015 (C.D. Cal. 2011). Accordingly, the

arguments made by Ms. Morrison with respect to tolling the statute of limitations

based on alleged, but undocumented incarceration is irrelevant and does not

apply.6

           b. The District Court did not have jurisdiction because the

              Survivor Claim was not brought until more than a year

              after the Boxer died.

      In Nevada, a survivor action can only be brought by an executor or

administrator, and must be brought within one year of the death. NRS 41.100,

NRS 11.310. That did not happen in this case because Ms. Morrison was not

      6
       Ms. Morrison refused to answer questions or provide documentation of the
Boxer’s criminal history when asked during her deposition. SEOR 441, pp. 67-
68.
                                          12
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appointed the administrator until 15 months after the Boxer’s death. As a result,

the District Court did not have subject matter jurisdiction over this matter when the

Complaint was filed in July 2014. Although Ms. Morrison claimed to be the

“surviving spouse,” that designation does not provide standing in a survivor action

in Nevada.

   2. Ms. Morrison failed to timely appeal the magistrate’s Orders on non-

      dispositive motions pursuant to Fed. R. Civ. P. 72(a).

   During the course of the litigation, several non-dispositive motions were properly

heard by the Magistrate. 28 U.S.C §636(b)(1)(A). Fed. R. Civ. P. 72(a). The

Magistrate issued Orders, including denying leave to file a second amended

complaint and excluding certain evidence (Leave to file a Second Amended

Complaint SEOR 571-623, SEOR 53-59, Motions to Exclude Evidence, SEOR 50-

52, SEOR 43-49, SEOR 36-42, SEOR 24-35, and SEOR 16-24).                       Once the

Magistrate issued the Orders, the Rules allow 14 days to object to the District Court

Judge. Fed. R. Civ. P. 72(a). Ms. Morrison failed to object to the Order denying the

motion for leave or any of the other Orders, and as a result, Ms. Morrison forfeited

her right to appellate review of the Magistrate’s Orders. See generally, Morgal v.

Maricopa County Board of Supervisors, 284 F.R.D. 453, 458 (D. Ariz. 2012); Seto v.

Thielen, 2013 WL 680973 *2, 519 Fed. Appx. 966, 969 (2013).




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      Ms. Morrison failure to timely appeal the magistrate’s decision to the district

judge forecloses consideration of these issues on appeal. Simpson v. Lear Astronics,

Corp., 77 F.3d 1170, 1174 (1996).

   3. The District Court below correctly found that there is no genuine dispute

      as to any material fact and that the State Defendants are entitled to

      summary judgment as a matter of law.

   The burden of proof is on the Ms. Morrison to show that the NSAC or its

executive director cannot legally rely on the test results from an accredited

laboratory. Ms. Morrison’s attack on the process used to test for HIV in 1996 is of

no concern to the State Defendants.      The State Defendants are not medical

providers and were not involved with the testing process. The State Defendants

were not involved with the Boxer’s choice of provider to perform the HIV testing,

or what specific tests were performed.       The Boxer could have gone to any

accredited lab to provide the necessary medicals to show that the Boxer was not

carrying the HIV virus (NAC 467.027(3)), instead the Boxer arrived in Las Vegas

a few days prior to the fight with an incomplete application and incomplete

medicals.

      The Boxer’s attending physician in Las Vegas, Dr. Voy, ordered the HIV test,

and after initially refusing to take the test, the Boxer had the test performed. SEOR

150-151. The testing process was performed by an accredited laboratory which

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involved an algorithm of tests, and showed that the Boxer was positive for the HIV

virus. SEOR 1065.       The algorithm of tests performed by the laboratory was the

standard of care for HIV testing in 1996. SEOR 103-123.

      Ms. Morrison did not designate an expert or disclose any admissible evidence to

dispute the standard of care in 1996. She did not provide any evidence to challenge

any of the other undisputed facts contained in the State Defendant’s Motion For

Summary Judgment. Ms. Morrison did not present any admissible evidence to show

that the Boxer was not HIV positive. As a result, the District Court considered the

pleadings, the arguments, and the record7 and correctly found that there is no genuine

dispute as to any material fact, and properly granted the State Defendant’s summary

judgment.

      4. The State Defendants are immune from suit and should have been

      dismissed from this case.


      7
          Documents that were “not filed with the district court or admitted into

evidence by that court are not part of the clerk’s record and cannot be part of the

record on appeal.”      Kirshner v. Uniden Corp of America, 842 F.2d 1074, 1077

(9th Cir. 1988). See also, FRAP 10(a). Accordingly, this Court should exclude the

“Glossary” found in Ms. Morrison’s Appendix A, pp. 1-27 because it was not part

of the record before the Court below.


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      The Eleventh Amendment prohibits actions against a state in Federal

Court in circumstances in which the state has not waived such immunity or such

immunity has not been abrogated by law under Section Five of the Fourteenth

Amendment to the United States Constitution. Atascadero State Hospital v.

Scanlon, 473 U.S. 234, 237-41, 105 S.Ct. 3142, 3145-6(1985) (superseded by

statute on other grounds), Meadow Valley Contractors, Inc. v. Johnson, 89

F.Supp.2d at 1183. The State of Nevada specifically retained its Eleventh

Amendment immunity by statute. NRS 41.031(3) (“The State of Nevada does

not waive its immunity from suit conferred by Amendment XI of the Constitution

of the United States”). Accordingly, the NSAC should have been dismissed. In

addition, NRS 622A.150(2)(a) provides immunity from civil liability to           a

government entity, officer or employee for “ any decision or action taken in

good faith and without malicious intent in carrying out the provisions of this

chapter or any law or regulation governing occupational licensing.

      Discretionary function immunity applies to discretionary functions

performed by an official. Under discretionary function immunity, a government

official is immune from suit when the actions taken involve an element of

individual judgment or choice and are based on considerations of social, economic,

or political policy. Shafer v. City of Boulder, 596 F.Supp.2d 915, 938 (2012).

       In 1996, after receiving notification of the Boxer’s positive HIV results,


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Director Ratner did not publically announce to the media the reason for the

cancellation of the fight. He made a policy decision in good faith that it would

be up to the Boxer to as to what to tell the media and when to make the

announcement.

      In 2007, when Dr. Margaret Goodman was informed that the Boxer was

planning to apply for a license to fight in Nevada, as head of the Medical Advisory

Board, she used her discretion to ask the laboratory if the test used in 1996 was an

accurate test. Accordingly, Dr. Goodman and Director Ratner should have been

granted immunity because it is without question the actions of both Dr. Goodman

and Director Ratner in carrying out their functions were taken in good faith, and

the decisions they made were made for policy reasons.

                                           V.

                                     ARGUMENT

          A. Standard of Review

      The granting of summary judgment is reviewed de novo. Nevada Power

Company v. Monsanto Co. 955F.2d 1304, 1306 (1992). When a matter, such as

this, is before the federal district court on diversity jurisdiction, the court uses state

substantive law and state statutes of limitations. Nevada Power Company v.

Monsanto Co. 955F.2d 1304, 1306 (1992).




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      A district court’s interpretation of state law is reviewed de novo. Nevada

Power Company v. Monsanto Co. 955F.2d 1304, 1306 (1992). The de novo

review is governed by the same standards used by the district court under Fed. R.

Civ. P. 56—“viewing the evidence in the light most favorable to the nonmoving

party, whether there are any genuine issues of material fact and whether the district

court correctly applied the relevant substantive law.” Jesinger v. Nevada Federal

Credit Union 24 F.3d 1127, 1131 (1994). In doing so, the court does not reweigh

the evidence or determine the truth of the matters asserted, only determine if there

is a genuine issue for trial. Id.

      Here, the District Court properly found that Ms. Morrison’s claims were all

outside of the governing statutes of limitations and moreover, even if the statutes

were not applicable, Ms. Morrison did not present any evidence to prove any of

her State law claims or refute the defense expert. SEOR 001-015.

      1.     All Claims are Barred by the Applicable Statutes of Limitations.

             a.     Standard of review

      Dismissal of action on statute of limitations grounds is reviewed de novo.

Ellis v. City of San Diego, Cal, 176 F.3d 1183, 1188 (9th Cir. 1999).

             b.     The governing Statutes of Limitations Foreclose Every

      Cause of Action.




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      Limiting a time to bring an action “promotes justice by preventing surprises

through [the] revival of claims that have been allowed to slumber until evidence

has been lost, memories have faded and witnesses have disappeared.” Order of

Railroad Telegraphers v. Railway Express Agency, Inc., 321 U.S. 342, 348-349

(1944). Unless some tolling statute applies,8 “most statutes of limitations seek

primarily to protect defendants against stale or unduly delayed claims.” John R.

Sand & Gravel Co. v. United States, 552 U.S. 130, 133 (2008).

      A statute of limitations “creates a time limit for suing in a civil case, based

on the date when the claim accrued.” CTS Corp. v. Waldburger, 134 S. Ct. 2175,

2182 (2014). The Statutes of Limitations on state law claims in a diversity action

is governed by state law. Walker v. Armco Steel Corp, 466 U.S. 740, 751 (1980).

      Claims accrue when the plaintiff has a complete and present cause of action

and can file suit to obtain relief. Wallace v. Kato, 549 U.S. 384, 388 (2007). This

occurs when the plaintiff knows or has reason to know of the alleged events that

form the basis of the cause of action. McCoy v. San Francisco, 14 F.3d 28, 29 (9th

Cir. 1994). Continuing impact from past violations does not extend the statute of

limitations. McDougal v. County of Imperial, 942 F.2d 668, 674-75 (9th Cir.

1991).




      8
          Which, pursuant to NRS 11.250, does not apply here.
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      Even when a plaintiff “has a just claim it is unjust not to put the adversary

on notice to defend within the period of limitation and that the right to be free of

stale claims in time comes to prevail over the right to prosecute them.”

Telegraphers v. Ry. Express Agency, Inc., 321 U.S. 342, 349 (1944)).

      In Nevada, the applicable statutes of limitations for state law claims at issue

here is found is found at Nev. Rev. Stat. Chapter 11 which provides:

             11.190 Periods of Limitations. Actions other than those
             for the recovery of real property, unless further limited by
             specific statute, can only be commenced as follows: . . .
                             *           *    *
              3.    Within 3 years:
                              *         *      *
              (c) An action for taking, detaining or injuring personal
             property, including actions for specific recovery thereof,
             but in all cases where the subject of the action is a
             domestic animal usually included in the term “livestock,”
             which has a recorded mark or brand upon it at the time of
             its loss, and which strays or is stolen from the true owner
             without the owner’s fault, the statute does not begin to
             run against an action for the recovery of the animal until
             the owner has actual knowledge of such facts as would
             put a reasonable person upon inquiry as to the possession
             thereof by the defendant.
                    *      *     *
             4. Within 2 years: . . .
                    *      *     *
             (e) An action to recover damages for injuries to a person
             or for the death of a person caused by the wrongful act or
             neglect of another.

      Therefore, pursuant to the applicable Nevada law, there is a 2 year statute of

limitations on the negligence, defamation( including libel and slander), negligent

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misrepresentation claim, and intentional infliction of emotional distress claim

(NRS 11.190(4)(e)), and a 3 year statute of limitations on the fraud claim and

intentional interference with a contract claims (NRS 190(3)(c). The question then

becomes when the claims accrued.

      The evidence in the record shows that the Boxer’s claims accrued when he

began to doubt his HIV status. In 1996, the Boxer’s HIV status became public.

However, information in the record provides that the Boxer may have first tested

positive for HIV as early as 1989. SEOR 929-932, SEOR 253, p. 80:1-11, SEOR

935-937, SEOR 938-940.

      In 1996, even after receiving a number of confirming tests9 from various

sources, the Boxer doubted his HIV positive status. SEOR 436 p. 48:1-16, SEOR

332, p. 48:11-15. The Boxer thought that HIV was a government conspiracy.

SEOR 334, pp. 54:15-25, 55:1-20.

      On July 19, 2006, the Boxer emailed his first ex-wife, to tell her that he did

not have HIV. SEOR 390, pp. 87:6-25, 89:10-13; SEOR 923. (“I was right all

along Dawn, I never had hiv to start with…”).

      In 2007, the Boxer attempted to re-enter professional boxing, prompting

inquiries to the NSAC about the events of 1996. The Chairman of the Medical




      9
          SEOR 331, pp. 45:15-22, 48:11-18, SEOR 174-13, pp. 23:21-15, 24:1-8.
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Advisory Board checked with the laboratory that performed the test in 1996 about

the efficacy of the testing process used in 1996. SEOR 198 – 199.

      In the spring of 2009, Ms. Morrison met the Boxer. He told her at that time,

that he believed that the 1996 HIV test was a false positive. SEOR 436, p. 48:1-

16.

      On October 21, 2009, Morrison requested a copy of his file from the NSAC.

SEOR 126, SEOR 124. Director Kizer, sent a copy of his file on October 22, 2009.

SEOR 126, SEOR 124. If the Boxer had planned to protest the fact that the fight

was cancelled, he could have done so.

      In 2010, the Boxer again attempted to get a license to box in Nevada, but did

not complete the application when the Commission doctor required a Western Blot

test. SEOR 167.

      In 2011, the Boxer communicated directly with Dr. Voy to see if he had

diagnosed him in 1996. On July 15, 2011, the Boxer received an email from Dr.

Voy where Dr. Voy clearly and unambiguously states:

      “Hello Tommy, I certainly support your desire to get a boxing

      license. You are correct; I did not diagnose you as having AIDS. I

      did your required licensing exam and found you physically qualified

      and fit to box at the time.”

SEOR 743.


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      Thus, for statute of limitations purposes, the Boxer’s claims accrued at the

earliest, according to Ms. Morrison’s testimony, in February 1996 and at the latest

in July 15, 2011. There is no question that the claims had accrued by the time that

the Boxer sent his ex-wife the 2006 email stating that he never had HIV.

Nevertheless, even using the latest possible date for the claims to accrue, the 2 year

statute of limitations on the negligence claim (NRS 11.190(4)(e)) would have run

on July 14, 2013, the 2 year statute of limitations on the Defamation claims

(including libel and slander) (NRS 11.190(4)(e)) would have run on July 14, 2013,

a 3 year statute of limitations on the fraud claim (NRS 190(3)(c)) would have run

on July 14, 2014, a 2 year statute of limitations on the negligent misrepresentation

claim (NRS 11.190(4)(e)) would have run on July 14, 2013, a 2 year statute of

limitations on the      intentional infliction of emotional distress claim (NRS

11.190(4)(e)) would have run on July 14, 2013, and a 3 year statute of limitations

on the intentional interference with a contract claim (NRS 190(3)(c)) would have

run on July 14, 2014.    The original complaint was not filed until July 29, 2014,

and there is no question that Ms. Morrison did not have standing when the

Complaint was filed.

      Accordingly, all Ms. Morrison’s claims are outside of the applicable statute

of limitations and were properly dismissed by the District Court. SEOR 1 – 15.

      c.     There is No Legal Basis to Toll the Statutes of Limitations


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                    i. Morrison raises the question of tolling against the State

                    Defendants for the first time on appeal

      When a motion to dismiss is based on the running of the period of the statute

of limitations, dismissal may be granted if the assertions in the complaint would

not permit the plaintiff to prove that the statute of limitations was tolled. Jablon v.

Dean Wittier & Co., 614 F2d 677, 682 (9th Cir 1980). The question of tolling is

governed by state law. Centaur Classic Convertible Arbitrage Fund Ltd.v.

Countrywide Financial Corp, 878 F.Supp.2d 1009, 1014 (C.D. Cal. 2011).

      Nevada’s tolling statute applies in very limited situations, and does not toll

the statute for any claims against the State Defendants. NRS 11.250. The Boxer

was not under 18, and there is no evidence in the record that he was disabled or

incarcerated at the time when the cause of action accrued. NRS 11.250, CD #147-

7, p. 19, 67-68.      Moreover, contrary to the assertion of Ms. Morrison, the

Magistrate did not toll the statute of limitations in December 2014 when she stayed

discovery (SEOR 62) and the District Court did not toll the statute when it

dismissed the Complaint in 2015. SEOR 60 – 61I), Appeal Docket Entry (“DE”)

# 5-1, p.83.

      An argument for tolling cannot be made for the first time on appeal.

Alexopulos by Alexopulos v. Riles, 784 F.2d 1408, 1411 (9th Cir.1986) (tolling

argument waived when raised for the first time on appeal).         In Alexopulos, the


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court found that the party invoked tolling for the first time on appeal and did not

support the claim with any evidence of how the tolling should apply. As a result,

the court found that the tolling argument was waived. See Alexopulos by

Alexopulos v. Riles, 784 F.2d 1408, 1411 (9th Cir.1986); Evans v. Alliance

Funding, 637 Fed Appx 418 (9th Cir 2011) (unreported) (made no argument for

tolling before the district court); see also Acosta–Huerta v. Estelle, 7 F.3d 139, 144

(9th Cir. 1992) (claims unsupported by argument on appeal are waived). Here,

there is no evidence in the record to support Ms. Morrison’s claim for tolling.

      Ms. Morrison did not make any argument for tolling at the District Court

below prior to the dismissal of the Amended Complaint. SEOR 1 – 15. On appeal,

Ms. Morrison alleges that tolling should apply because the Boxer was incarcerated,

but never provided any evidence of the Boxer’s criminal record. During her

deposition, Ms. Morrison refused to provide any information. SEOR 441, pp. 67-

68.                  Ms. Morrison should not benefit from facts that she refused to

supply when directly questioned on this subject at her deposition. As a result,

tolling cannot apply to any claims against the State Defendants.

      Equitable tolling only applies when there is excusable delay because a

reasonable Plaintiff would not have known of the existence of a possible claim.

City of N. Las Vegas v. State Local Gov’t Employee-Management Relations Bd,

127 Nev. 631, 261 P.3d 1071, (2011). Equitable tolling does not apply because


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the testimony in the record shows that the Boxer, during his lifetime, explored his

legal rights and discussed the possibility suing the NSAC because he wanted to

fight again. SEOR 255, pp. 86:22-25, 87:1-25, 88:1-25, 89:1-4.

       Furthermore, between February 10, 1996 until the time that the Boxer died,

the Boxer never objected to the results of the test being telephoned to the NSAC,

nor did the Boxer ever object to Marc Ratner notifying Tony Holden that he was

not medically cleared to fight. SEOR 335, pp. 59:24-25, 60:1-3, 60:10-13, 60:18-

23; SEOR 274, pp. 162:21-25; 163:1-8; SEOR 392, pp. 96:15-25, 97:1-3.

      In 2009, after receiving copies of the file, the Boxer still did not object to the

consent form that he signed in 1996 or the prefight questionnaire that he filled out

on the opposite side of the consent form. SEOR 160-161; SEOR 242, p. 37:2-25,

SEOR 243, p. 38:1-25; SEOR 268-269;            SEOR 203; SEOR 274, pp. 162:21-25,

163:1-8; SEOR 327, pp. 26:24-25, 27:1-3, SEOR 335, p. 60:10-22; SEOR 392, p.

96:19-21.

      Moreover, the people who were close to the Boxer around 1996, testified

that Morrison never planned to contest the cancellation of the fight and did not

contest the positive HIV test results from 1996.


    Q:     Did he ever tell you that he wished to contest the finding of the
    Nevada State Athletic Commission’s findings that he was unable to box?
    A:     No, because he took his own test and it had the same result, so I never
    heard that from him at that time.
SEOR 338, p. 71:5-11.
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      Thus, if the boxer planned to institute a lawsuit, he had the opportunity to do

so when he was still alive and there is absolutely no reason to toll any statute of

limitations.

   d. The Survival Action was Not Timely

      i.       NRS 11.310 Provides a Jurisdictional Bar to this Survival Action.

      The lack of subject matter jurisdiction can be raised at any time, including

on appeal. Westlands Water Dist. V. Firebaugh Canal, 10 F.3d 667, 673 (1993).

In Nevada, a cause of action which has accrued is generally not lost due to the

death of the person, but it can only be maintained by the decedent’s executor or

administrator. NRS 11.310, NRS 41.100.          An “administrator” is “a person not

designated in a will who is appointed by the court to administer an estate.” NRS

132.040. An “executor” is “a person nominated in a will and appointed by the

court to execute the provisions of the will and administer the estate of the

decedent.” NRS 132.130.

      Chapter 11 of the Nevada Revised Statutes governs “Limitations of

Actions.”       Pursuant to NRS 11.010, “[c]ivil actions can only be commenced

within the periods prescribed in Chapter 11, after the cause of action shall have

accrued, except where a different limitation is prescribed by statute.” NRS 11.010.




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NRS 11.310 provides for a one-year statute of limitations to bring a survival

action.10

      The party bringing a survival action has the burden of demonstrating that it

meets the specific requirements. Moreland v. Las Vegas Metropolitan Police

Department, 159 F.3d 365,369 (9th Cir. 1998) In Nevada, survival actions are

governed by NRS 41.100.        A survival action must be brought by the decedent’s

executor or administrator. NRS 41.100(1); see also generally Moreland v. Las

Vegas Metropolitan Police Department, 159 F.3d 365, (9th Cir. 1998) (Claims

dismissed because Mother and son failed to claim that they had been formally

appointed as representatives of the decedent’s estate.).

      Furthermore, pursuant to Chapter 11, it is clear that the Nevada Legislature

intended to limit the time that an executor or administrator can bring a survival

action to one year from the date of death. See generally Aloe Vera of America v.




      10
            Ms. Morrison’s citation to a district of Kansas case (94 F.R.D. 631, 637

(D.Kans. 1982) is misplaced. Survivorship is a state action and the laws in Kansas

do not apply in Nevada. The Nevada statutes allow the executor or administrator

one year from the date of death to file a survivor action and do not provide for

tolling or relation back. So what may be OK in Kansas, is not OK in Nevada.


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U.S. 580 F.3d 867, 870-871 (9th Cir. 2009). As a result, the one-year statute of

limitations in NRS 11.310 is jurisdictional.

      A federal district court may not expand a grant of jurisdiction by judicial

decree. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375 (1994). When a

federal court determines that it does not have subject matter jurisdiction, the entire

case must be dismissed. Arbaugh v. Y & H Corp., 546 U.S. 500, 514 (2006).

       On July 24, 2014, Ms. Morrison filed a Complaint claiming to be the

Boxer’s “surviving spouse.” A surviving spouse is not necessarily an executor or

an administrator, and the Court dismissed the Complaint and Ordered Ms.

Morrison to show that she had standing. SEOR 60-61I.

      The Amended Complaint provides that Ms. Morrison brought this action as

a survival action. SEOR 624-646. The Amended Complaint alleges that Morrison

died on September 1, 2013.        SEOR 627:¶15.        According to the Amended

Complaint, Plaintiff was not appointed administrator of the estate until December

29, 2014, over a year and three months after the Boxer died. SEOR 626:¶10.

      Thus, Ms. Morrison did not have standing on July 24, 2014 when she filed

the original Complaint because she was neither the administrator nor executor of

the Boxer’s estate as required pursuant to NRS 41.310. Ms. Morrison did not have

standing to file the suit until December 29, 2014 which was more than fifteen

months after the Boxer’s death.


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      As a result, the Court below did not have subject matter jurisdiction to hear

the Complaint. On December 2, 2014, the Magistrate only stayed discovery, and

did not toll any statues. SEOR 62. Likewise, on September 30, 2015, when the

District Court dismissed the Complaint and Ordered Ms. Morrison to show that she

has standing and that she cure a number of pleading deficiencies, the District Court

did not toll any statues. SEOR 60-61I.

      Furthermore, the untimely appointment as administrator does not relate back

to the date of the original Complaint. The Federal Rules of Civil Procedure 15(c)

provides that the only time an amended pleading relates back to the original

complaint is when “the law that provides the applicable statute of limitations

allows relation back.”    Fed. R.Civ. P. 15(c).    The jurisdictional limitation in

NRS11.310 does not provide for relation back.

      Because subject matter jurisdiction did not exist when the Complaint was

filed on July 24, 2014 and because Ms. Morrison admits that she was neither the

executor nor administrator of Morrison’s estate until more than one year after the

Boxer’s death, Ms. Morrison failed to comply with the jurisdictional limitations of

a survivor claim. As a result, this case must be dismissed for failure to comply with

NRS 11.310 and NRS 41.010.

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2.    Ms. Morrison failed to timely object to the Magistrate’s Orders

      When a party fails to file a timely objection to a non-dispositive magistrate’s

order with the District Judge, the party is barred from pursuing appellate review of

that order.    Simpson v. Lear Astronics Corp., 77 F.3d 1170, 1174-175(1996).

Magistrates have the jurisdiction to determine non-dispositive motions. 28 U.S.C

§636(b)(1)(A).   Fed. R. Civ. P. 72(a). If a party objects to the magistrate’s

decision, they must file an objection within 14 days of the Order or they forfeit

their chance to argue their objection on appeal.

      Ms. Morrison incorrectly argues that the Court erred because the

Defendant’s Motion for Summary Judgment and the Court’s Order granting the

Motion for Summary Judgment did not address the Second Amended Complaint

.Appeal Brief DE#5-1 at 25, 57. Ms. Morrison’s Motion for Leave to Amend the

Amended Complaint (CD # 105) was denied by the Magistrate (SEOR 53-59).

Ms. Morrison’s failure to file an objection to the Magistrate’s Order denying the

Second Amended Complaint precludes this Court from considering the denial of

the Second Amended in this appeal.

      In denying the second amended complaint, the Magistrate noted that the

District Judge dismissed the Complaint gave Morrison 30 days to fix the

deficiencies, specifically with respect to negligence, defamation and fraud. CD

#182. The Magistrate properly denied Ms. Morrison’s Motion for Leave because


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the new claims were not related to the old claims and discovery was nearly

completed. See generally. Nelson v. City of Las Vegas, 99 Nev. 548, 556, 665

P.2d 1141, 1146 (1983) (when amended claims state new causes of action with a

different source of damages, they do not relate back to the original claims). Ms.

Morrison’s attempt to add entirely new causes of action with new sources of

damages was the result of the evidence in the record that would preclude the

claims in the Amended Complaint, which included evidence showing that the

Boxer tested positive for HIV more than a hundred times, and that the Boxer had

also been on anti-retroviral medication for HIV.

   3. The District Court’s Factual Findings are Correct.

   A. Standard of Review

       The standard of review for the district Court’s factual findings is whether the

findings are clearly erroneous. K.S. ex rel D.W. v. Armstrong, 789 F.3d 962, 969

(2015). Fed.Rules Civ.Proc.Rule 52(a)(6) (Findings of fact, whether based on oral

or other evidence, must not be set aside unless clearly erroneous, and the reviewing

court must give due regard to the trial court's opportunity to judge the witnesses’

credibility).

       The State Defendant’s Motion for Summary Judgement provides factual

information that was either not disputed by Ms. Morrison, or that Ms. Morrison

failed to present any evidence, expert or otherwise to refute the undisputed facts.


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   a. Negligence

      i.       Plaintiff has failed to show any facts that support a claim for

               Negligence against any State Defendant.

     To prove negligence, a plaintiff must show a duty or obligation that is

  recognized by the law that requires a defendant to conform to a certain standard

  of conduct. Here, Ms. Morrison did not show that any State Defendant owed the

  Boxer a duty to issue a license or allow him to fight in Nevada.

      ii.      Morrison failed to show that any of the State Defendants Owed

               Morrison a duty recognized by law.

      It is undisputed that Ms. Morrison agrees that the Boxer owed a duty to the

NSAC and its Executive Director to comply with the licensing requirements if he

wanted to take part in professional unarmed combat in Nevada.11                   The

requirements include providing the completed license application and medicals in


      11
            Ms. Morrison testified that she is aware that it is the applicant’s

responsibility to comply with the requirements contained in chapter 467 of the

NRS and NAC. SEOR 339, p. 75:4-19. This fact is not in dispute.

      Q:  …Whose responsibility was it to provide that test to the Athletic
      Commission?
      A:  The licensee.
      Q:  Okay. The person applying for the license, correct?
      A:  Correct
      SEOR 510, p. 343:18-25.

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a timely manner. SEOR 194-197, SEOR 200-202. Pursuant to NRS and NAC

467, neither the NSAC, it’s Executive Director nor Medical Advisory Board owe

an applicant a legal duty to issue a license if the applicant does not meet the

requirements. SEOR 194-197. These facts are undisputed.

      NRS 467.100(3) provides that an applicant has the burden to show “general

suitability, character, integrity, and ability to participate or engage in, or be

associated with contests or exhibitions of unarmed combat.” Because the Boxer

was unable to make this showing, he was properly denied a license.

      Moreover, any medical record considered when deciding whether to grant

his license is public information. NRS 467.1005. Nevada law additionally

incorporates a waiver to any confidentiality by statutorily providing that when

“filing an application with the Commission, an applicant accepts the risk of

adverse public notice, embarrassment, criticism, financial loss or other action with

respect to the application, and expressly waives any claim for damages as a result

thereof.” NRS 467.100(3).

      The Boxer had been licensed five times prior to 1996. The Boxer knew he

must be medically cleared to obtain a license. NRS 467.100(8), NAC 467.022, and

NAC 467.027; SEOR 339, p. 75:4-19, On February 7, 1996, Executive Director

Ratner warned Morrison that he would not be issued a license until he met the

medical requirements. SEOR 194-197. Mr. Ratner, on behalf of the NSAC, gave


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the Boxer the opportunity to take part in the weigh-in although the NSAC was

waiting for the HIV test results. SEOR 159. (“Needs” under HIV test column).

Finally, several hours before bout, the NSAC was informed that the Boxer was not

going to provide a negative test. As a result, the Boxer was not issued a license,

and the bout was cancelled.12

      After receiving the positive test results, Director Ratner properly and timely

informed the Boxer’s representative, Tony Holden, that the Boxer did not have

medical clearance and the fight would be cancelled. SEOR 339, pp. 76:22-25,

77:1-9. There was no “secret” meeting. Mr. Holden testified that “[u]sually the

athletic commissioner or who’s – or someone with the athletic commission will

notify you or a representative or your camp. And Tommy told the Commission

I’m his representative before the fights, so that is why they called me.” SEOR 339,

p. 75:4-19, SEOR 334, p. 96:4-8. On February 9, 1996, the Boxer signed a consent

form located on the back of the prefight questionnaire which allowed for

disclosure. SEOR 160-161; SEOR 203-205. Director Ratner explained that the

      12
           Ms. Morrison’s claim that the Boxer “lost his boxing license” (SEOR

630:¶29) is unsupported and untrue. The Boxer was not issued a license in 1996,

because he did comply with the requirements of NRS 467.100, NAC 467.022 and

NAC 467.027. Thus, on February 10, 1996, the Boxer did not have an unarmed

combatant’s license to lose.

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Boxer was not medically cleared, but did not discuss HIV.

    Q: So you understood that Mr. Ratner was not going to reveal
    the reason for the cancelation of the fight to the media, was
    going to leave it up to Tommy Morrison and his camp?”
    A:     Absolutely.
    Q:     And to your knowledge, was that the procedure that was
    followed?
    A:     Yes, I don’t recall Marc ever saying anything to anybody,
    because it was - - if Marc would have said something it would
    have been all over the media, no. And we took it back to Tulsa,
    they’re wanting an official statement, so no, Marc never said
    anything.
SEOR 339, pp. 76:22-25, 77:1-9.

      Additionally, the Boxer and Tony Holden remained friends for many years,

and the Boxer never stated to Mr. Holden that he objected to Director Ratner

informing Tony Holden instead of him directly. SEOR 335, pp. 59:24-25, 60:1-3,

      Director Ratner did not disclose the Boxer’s positive HIV test result to the

media, and left it up to the Boxer and his representatives to disclose the reason for

the fight cancellation. About a week after the cancelled fight, the Boxer and his

representative, Tony Holden, revealed that the Boxer was positive for HIV to the

media. This was after returning to Oklahoma and confirming the results through

additional testing.

      Because Morrison’s failure to provide a negative HIV test was relevant to

the Commission in the decision to deny Morrison’s license in 1996, the medical

information contained in the test is not confidential by law. NRS 467.1005.

Nevertheless, although the NSAC could have, they did not publically announce the
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reason that Morrison was not issued a license and simply said he was not medically

cleared. SEOR 143-147, NRS 467.1005, SEOR 194-197.

      Ms. Morrison did not name Dr. Goodman in the Negligence cause of action.

SEOR 624-646.

      iii. The State Defendants did not violate a standard of care.

      A defendant cannot breach a duty that they do not have. None of the State

Defendants owed the Boxer a legal duty to only speak with the Boxer and not and

not his representative, or to issue a license to the Boxer if he had not provided all

the prerequisites necessary for a license, or to allow him to take part in unarmed

combat without a license.

      The duty of the NSAC is to protect the health and safety of the fighters and

to comply with the requirements of NRS and NAC Chapter 467.                The only

information given publically after the cancellation of the bout in 1996 by the State

Defendants was that the fight was cancelled because Morrison was not “medically

cleared” to fight. SEOR 194-197.

      iv. There is no causal connection between the lawful cancellation of a

             fight and Morrison’s downward spiral.

      Although the Plaintiff is looking for someone to blame, there is no basis to

blame any of the State Defendants for the Boxer’s death. The Boxer never blamed

the cancellation of the fight on the State Defendants. The Boxer had additional


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testing for HIV performed when he returned to Oklahoma. The additional testing

showing a high viral load and a low T-cell count confirmed that the Boxer was

HIV positive. The more than 10,000 pages of medical records show that Morrison

ultimately died of complications from untreated AIDS. The Boxer’s AIDS was

untreated because Ms. Morrison refused to allow the administration of anti-

retroviral medication. SEOR 744-922. In fact, in May 2013, Ms. Morrison was

ordered to appear before the ethics committee at Bryan Medical Center regarding

medical futility. Ms. Morrison did not appear, but agreed to allow anti-retroviral

medication for the Boxer’s AIDS. SEOR 647-648.

       The Boxer’s history of HIV goes back many years. Testimony in the record

from the Boxer’s second ex-wife, Dawn II, as well as from the Boxer’s

psychiatrist, Dr. Epp, and a counselor, Mr. Wilkensen provide that that the Boxer

had been positive for HIV since 1989, seven years prior to the 1996 cancelled bout.

SEOR 253, p. 80:3-11; SEOR 929-932; SEOR 925-927.

       There is no causal connection between the events of February 1996 and the

Boxer’s death. Plaintiff is disingenuously looking to shift the blame to others

rather than take responsibility for her own actions denying the Boxer potentially

life-saving anti-retroviral medication and not allowing the doctors to perform their

job.

///


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      v. Plaintiff has not shown any actual loss or damages.

     Ms. Morrison has failed to show any actual injury due to actions of the State

Defendants. Instead Ms. Morrison alleges pure economic loss.         In Nevada, a

plaintiff may not recover for “purely economic loss” in tort actions. Peri & Sons

Farms, Inc. v. Jain Irrigation, Inc., 933 F. Supp. 2d 1279, 1283–85 (D. Nev. 2013)

(strict liability and negligence claims barred by economic loss rule); Presidio

Adventures Dev. I v. Countrywide Fin. Corp., No. 2:12-cv-01369, 2014 U.S. Dist.

LEXIS 41737, at *20–22 (D. Nev. Mar. 26, 2014) (dismissing negligence claims

barred by economic loss doctrine).      “Allowing the plaintiffs to sue under a

negligence theory for purely economic losses, without accompanying personal

injury or property damage, would have defeated the primary purpose of the

economic loss doctrine [which is to] to shield a defendant from unlimited liability

for all of the economic consequences of a negligent act.” Terracon Consultants

Western, Inc. v. Mandalay Resort Group, 125 Nev. 66, 74, 206 P.3d 81, 86 (Nev.

2009) (the doctrine “bars unintentional tort actions when the plaintiff seeks to

recover purely economic loss”). Although there are exceptions to the economic

loss theory, none of them apply here.

      Plaintiff has not provided any proof that Morrison suffered any physical

injury as a result of any actions by the State Defendants. Accordingly, since it is




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undisputed that none of the State Defendants physically injured Morrison,

Morrison’s negligence claim is also barred by the economic loss doctrine.

   b. Plaintiff has failed to show any facts that support a claim for

        Defamation, Slander, or Libel.

  As a professional athlete and former world champion, the Boxer was considered

a public figure.13 (SEOR 626:¶11). As a public figure, in addition to the elements

of defamation which include: (1) a false and defamatory statement by the each

State Defendant concerning Morrison; (2) an unprivileged publication to a third

person; (3) fault, amounting to at least negligence; and (4) actual or presumed

damages, Plaintiff has the added burden to prove by clear and convincing evidence

that each of the State Defendants acted with “actual malice—that is, with

knowledge that the statement was false or with reckless disregard of its truth.”

New York Times Co. v. Sullivan, 376 U.S. 254, 279–80, 84 S. Ct. 710, 726 (1964);

see also Pegasus v. Reno Newspapers, Inc., 57 P.3d 82, 90 118 Nev. 706 (Nev.

2002) (acted with knowingly or with reason to know that the test results were

false). “Reckless disregard for the truth may be found when the defendant

   13
        See generally. Pacquiao v. Mayweather, 803 F. Supp. 2d 1208, 1213 (D. Nev.

2011) (“Pacquiao is a world famous boxer. As such, he is a public figure for First

Amendment purposes.”); see also Cepeda v. Cowles Magazines & Broad., Inc.,

392 F.2d 417, 419 (9th Cir. 1968) (general public figures include athletes).

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entertained serious doubts as to the truth of the statement, but published it

anyway.” Pegasus, 57P.3d at 92, 723 (internal quotations omitted).

      The truth is a complete defense to an allegation of defamation. The evidence

in this case shows that the truth is that Morrison tested positive for HIV in

February 1996. CD# 174-25. The truth is that the algorithm which consists of a

number of tests and confirming tests used in 1996 was the standard of care in 1996

and for many years afterwards to show whether a person is positive for HIV. CD#

174-25. The truth is that the Boxer had HIV. SEOR 1065. The truth is that in

February 1996 the NSAC only announced that the Boxer was not medically

cleared to fight and left it to the Boxer to announce the reason that the fight was

cancelled. SEOR 194-197; SEOR 143-148; SEOR 339, pp. 76:8-25,77:1-9. The

truth is that after a number of confirming tests performed by Morrison’s own

physicians in Kansas City and in Oklahoma, the Boxer went public that he was

positive for HIV. SEOR 331, pp. 45:18-25, SEOR 332, p. 48:11-18; SEOR 334

pp. 56:22-25; 57:1-10; SEOR 345, p. 101:20-25; SEOR 346, p. 102:1-2; SEOR

212, pp. 23:5-25, 24:1-9, 25:1-23.

      Ms. Morrison’s has not provided any evidence to substantiate her claim for

defamation (libel or slander)14 Ms. Morrison is mistaken when she claims that in

      14
           Because libel (written defamation) and slander (spoken defamation) are all

considered “defamation,” and Plaintiff has not provided any evidence or specified

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2007 Dr. Goodman did not have the authority to look into the 1996 report.15 In

2007, the Boxer wanted to fight professionally.        Inquiries came into the NSAC

concerning the 1996 HIV test.         Dr. Goodman, the Chairman of the medical

advisory board, who was not involved in the cancellation of the fight in 1996,

asked the NSAC’s contact person at Quest, Dr. Hiatt, about the testing process

used at the time that the Boxer was tested, and was told that the testing algorithm

met the standard of care and the results were generally considered ironclad and

unequivocal. SEOR 198-199. Her decision to inquire about the testing used in

1996 was part of her duties.

      When Dr. Goodman inquired into the testing process used in 1996, she did

not disclose any medical information that was confidential by law or breach any

alleged duty. NRS 467.1005.16 She did not disclose any new information that had

not already been released by the Boxer himself.17 SEOR 198-199.

any specific libel or slander, all three causes of action will be addressed in

this Motion for Summary Judgment as one claim.
      15
           Ms. Morrison fails to cite any statue or regulation that was violated.
      16
           The Judge dismissed any alleged HIPAA violations with prejudice

(regardless, the NSAC is not subject to HIPAA, and Morrison was never a patient

of Dr. Goodman). SEOR 1-62I.
      17
           The announcement concerning Morrison’s HIV status was made public by

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       When the Boxer applied for a license to fight in Nevada, the Boxer accepted

the risk of adverse public notice, embarrassment, criticism, financial loss or other

action when he applied for an unarmed combatant’s license in 1996, and expressly

waived any claim for damages as a result of any disclosures. NRS 467.100(3). Dr.

Goodman acted in good faith within the scope of her position as the Chairman of

the Medical Advisory Board in 2007 in making the inquiry of Quest.

       Furthermore, the re-publication of public information from the 2007 article

combined with other public information over the last 20 years, including

information furnished by the Boxer himself, is not actionable and is simply an

unauthorized re-publication of public information, and not new interviews or

statements.18



Mr. Holden and Morrison himself. SEOR 148; SEOR 339, p. 76:11-25; SEOR 332,

p. 47:8-21; SEOR 194-197. This is corroborated by the videos of the interview

with Marc Ratner and also with Tony Holden ringside on February 10, 1996.

The Showtime video clearly shows that the only announcement that

was made was that Morrison was not medically cleared for the fight.

SEOR 164-165; SEOR 1059-1064; SEOR 194-197; SEOR 143-147;

SEOR 339; pp. 76:8-25, 77:1-9.

  18
       The Boxer confirmed that he was HIV positive at the press

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        Moreover, while he was alive, the Boxer never questioned the actual lab

results.19   See generally, SEOR 335, pp. 59:24-25, 60:1-3. Morrison never

contacted any of the State Defendants to question or protest the 1996 test results.

SEOR 194-197. In 2009, when the Boxer contacted the NSAC for his file, he did

not state that it had anything to do with the results; he stated that the purpose was

for a book, and never mentioned the cancellation of the fight. SEOR 126.

  Thus in 1996, Director Ratner’s decision to inform the Boxer’s representative

that the Boxer was not medically cleared to fight, and Dr. Goodman’s 2007 inquiry

into the testing process were done in good faith and did not violate any law.



conference held at the Marriott in Tulsa, which was followed by

Morrison’s February 15, 1996 interviews with Larry King, Maria

Shriver and a week or so later an appearance on the Maury Povich

show. Accordingly, Morrison and his representative, Tony Holden were

the first to announce his positive HIV status. SEOR 332, pp. 48:24-25,

49:1-23, SEOR 333, p. 50-52:1-20.
   19
        The NSAC had required a negative HIV test since 1988, and over 2100

fighters had been tested by 1996. Many of them had been tested locally at Quest.

During that time, only one other fighter tested positive, and that was in 1991.

SEOR 144.

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     c.       Plaintiff has failed to show any proof to support a claim for

              Fraud

      The Plaintiff has the burden of proving each and every element of fraud

against each defendant claim by clear and convincing evidence. Lubbe v. Barba,

91 Nev. 596, 540 P.2d 115 (1975). The elements of fraud are: 1. A false

representation made by the defendant; 2. Defendant's knowledge or belief that the

representation is false (or insufficient basis for making the representation); 3.

Defendant's intention to induce the plaintiff to act or to refrain from acting in

reliance upon the misrepresentation; 4. Plaintiff's justifiable reliance upon the

misrepresentation; and 5. Damage to the plaintiff resulting from such reliance.

Lubbe, 91 Nev. 599, 540 P.2d at 117; Barmettler v. Reno Air, Inc., 114 Nev. 441,

447, 956 P.2d 1382, 1386 (1998). Lack of justifiable reliance bars recovery in an

action at law for damages for the tort of fraud. Pacific Maxon, Inc. v. Wilson, 96

Nev. 867, 870, 619 P.2d 816, 818 (1980). Here, the evidence of confirming tests

show that the Boxer did not rely on the 1996 Las Vegas HIV test.

      The Boxer did not go public about HIV until the test results from Las Vegas

were confirmed by a number of follow- up tests. Once receiving confirmation, the

Boxer announced to the world that he was HIV positive. Moreover, between 1996

and 2013, the Boxer had hundreds of HIV tests performed which also confirmed

that he was HIV positive. SEOR 744-922.


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       Ms. Morrison’s uncorroborated statement that the “Defendants intentionally

concealed or suppressed a material fact and had a duty to disclose that fact” does

not support a claim for fraud. (Appeal Brief, CD #5-1, p. 86) Ms. Morrison has

not provided any evidence that any State Defendant made a false representation to

the Boxer or any of his representatives in 1996 or concealed any evidence.

       Likewise, there is no evidence in the record to support a claim that the

Boxer relied on the 1996 HIV test. To the contrary, the evidence in the record

clearly proves that the Boxer did not rely on the Las Vegas HIV test because he

immediately flew home to Oklahoma and had several additional HIV tests

performed and confirm the positive results. SEOR 212, pp. 23:5-25, 24:1-9; SEOR

331, p. 45:18-25, SEOR 332, p. 48:11-18; SEOR 334, pp. 56:22-25, 57:1-10;

SEOR 345, p. 101:20-23; SEOR 148.

  d.     Plaintiff has failed to show any facts that support a claim for

         Negligent Misrepresentation.

       Ms. Morrison’s allegation of negligent misrepresentation is inapplicable to

the State Defendants. In Nevada, the elements of negligent misrepresentation are

“[o]ne who, in the course of his business, profession or employment, or in any

other action in which he has a pecuniary interest, supplies false information for the

guidance of others in their business transactions, is subject to liability for pecuniary

loss caused to them by their justifiable reliance upon the information, if he fails to


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exercise reasonable care or competence in obtaining or communicating the

information.” Barmettler v. Reno Air, Inc. 114 Nev. 441,449, 956 p.2d 1382,

1387(1998).

         Again, Ms. Morrison has not provided any evidence of false information

provided by any State Defendant. The NSAC and its employees and officers

regulate the sport of unarmed combat and issue licenses to participate in unarmed

Combat in the State of Nevada. It is not the job of the NSAC nor its employees or

officers to confirm laboratory findings; it is the responsibility of the applicant to

provide a complete license application which includes a laboratory report showing

that the applicant is not carrying the human immunodeficiency virus.20 NAC

467.022; NAC 467.027; NRS 467.100; SEOR 509, p. 341:14-18; SEOR 510, p.

343:18-25; SEOR 512, p. 352:10-17; SEOR 194-197; SEOR 200-202.

         When the Boxer did not provide the mandatory negative HIV test, the State

Defendants were not required to perform any additional investigation. Plaintiff’s

allegation that the State Defendants intended to deceive Morrison into believing

that he was HIV positive when he was not, is belied by the medical records and

deposition testimony which confirm that Morrison was HIV positive in 1996 and

   20
        Moreover, the Boxer delayed taking the test until two days before the bout so

when the results were received several hours before the bout, there was no time to

even check the results.

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for all times thereafter.21 SEOR 637:¶¶76-79, See e.g. SEOR 929-932; SEOR 935-

1056; SEOR 647-648; SEOR 744-922; SEOR 624-742; 933-934; SEOR 649-650;

SEOR 924-938; SEOR 1065.

   e. Plaintiff has failed to show any facts to support a claim for Intentional

        Infliction of Emotional Distress.

        Ms. Morrison alleges that the Boxer was immediately harmed when Director

Ratner informed the Boxer’s representative that he was not medically cleared to

fight and therefore is entitled to a claim for intentional infliction of emotional

distress (“IIED”). Under Nevada law, to show IIED, Ms. Morrison must prove: (1)

extreme and outrageous conduct by the NSAC, Ratner and/or Dr. Goodman with

the intention of, or reckless disregard for, causing emotional distress; (2) that the

Boxer actually suffered severe or extreme emotional distress; and (3) actual or

proximate cause. Barmettler v. Reno Air, Inc., 114 Nev. 441, 447, 956 P.2d 1382

(1998).

        Plaintiff cannot meet her burden. Merely alleging that a defendant acted in

an intentionally extreme and outrageous manner without evidence does not

support this claim.     Scott v. Corizon Health, Inc., 2014 Westlaw 1877431*4

   21
        Plaintiff’s reliance on an electron microscope is misplaced. The medical

community does not recognize an electron microscope examination of blood as

proof of the existence or non-existence of HIV. CD 174-26.

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(D.Nev. May 9, 2014)      The Boxer was not licensed and the bout was cancelled

because the Boxer did not receive medical clearance. Ms. Morrison does not have

any knowledge of what information was conveyed concerning the specific reason

that the Boxer did not have medical clearance. SEOR 490, p. 265:5-16.

      Furthermore, Ms. Morrison failed to produce any evidence to show that the

laboratory report was not the standard of care and that the NSAC should not have

relied on it when declining to issue the Boxer a license.

   f. Plaintiff has failed to show any facts that support a claim for Intentional

      Interference with a Contract.

   To support a claim for intentional interference with a contract, Ms. Morrison

must establish:    (1) a valid and existing contract; (2) the State Defendants’

knowledge of the contract; (3) intentional acts intended or designed to disrupt the

contractual relationship; (4) actual disruption of the contract; and (5) resulting

damage. J.J. Indus., LLC v. Bennett, 119 Nev. 269, 273, 71 P.3d 1264, 1267

(2003). Here, Ms. Morrison does not have personal knowledge of an alleged

contract with Don King. CD SEOR 443, pp. 74:1-25, 75:1-25, 76:1-25, 77:1-16.

      While the NSAC has bout agreements that are relevant to the specific fight,

the NSAC does not have promoter-fighter multi fight contracts, such as the one

that Ms. Morrison alleges that the Boxer entered into with Don King. Those




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agreements are between the promoter and/or manager and fighter. Accordingly, the

claim fails because Ms. Morrison has not provided a valid and existing contract.

      The three page excerpt produced by the Ms. Morrison cannot be a valid and

existing contract because the document provides that in order to get additional

fights; the Boxer would have to beat Lennox Lewis. SEOR 1066-1068. Morrison

lost the fight to Lennox Lewis in 1995. Furthermore, the February 10, 1996 fight

was a last minute substitution fight arranged on January 15, 1996, three weeks

before the February 10, 1996 event. SEOR 162. The purse was only $50,000 not a

multi-million dollar purse. SEOR 158.

      Moreover, Ms. Morrison testified that she has not seen any proof that there

was to be a fight with Mike Tyson.

  A: I know that it was the first of the three fights with the 3rd fight to meet Mike
  Tyson.
  Q: How do you know that?
  A: Because Tommy would say it almost every day.
  Q: Okay, but you have never seen any paperwork that would indicate with
  anybody, is that fair?
  A: Up until today I have not, not yet.
SEOR 448, p. 94:16-23.


      Nevertheless, to prove intentional interference with a contract, Ms. Morrison

“must establish that each of the State Defendants including the NSAC, Ratner

and/or Dr. Goodman intentionally wanted to disturb an existing contract. There is

no proof of an existing contract and Plaintiff has not provided a single piece of


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evidence to show that any of the State Defendants would want to disturb the

alleged contract, if it did exist. Although the claim names Dr. Goodman, she was

not involved with any of the events that took place in February 1996.

     g. The errata to the State Defendants’ Motion for Summary Judgment

        relates back to the Motion for Summary Judgment,

     The Errata filed by the state defendants (SEOR 63-94) properly related back to

the State Defendant’s timely filed Motion for Summary Judgment (SEOR 1069-

1118). As stated in the Errata, no new arguments were presented, and no new

evidence was added, the Errata was simply a reduced version of the original

Motion (SEOR 1069-1118) filed when the District Judge denied the State

Defendants Motion to Enlarge (SEOR 98) in order to comply with Local Rule 7-3.

Accordingly, the Errata related back to (SEOR 1066-1117) pursuant to Fed R. Civ

P. 15(c)(1)(B) because the amended pleading (SEOR 63-94) arose out of the same

conduct, transaction or occurrence set forth or attempted to be set for the in the

original pleading and is not considered untimely.

4.      The District Court should have granted the State Defendants Immunity

from this Suit

        A. Standard of Review

The Denial of Eleventh Amendment Immunity is reviewed de novo. Coalition of

Defend Affirmative Action v. Brown, 674 F.3d 1128, 1133 (9th Cir. 2012).


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         a. The Eleventh Amendment Requires dismissal of the NSAC.

      States, state agencies, and state officials may only be held to answer in

federal court in two limited circumstances; where the state unequivocally waives

its sovereign immunity, and where Congress expressly abrogates state sovereign

immunity with respect to a particular federal cause of action. If neither of these

exceptions applies, the suit against the state or its agency must be dismissed. This

jurisdictional bar applies regardless of the nature of the relief sought. See, e.g.,

Missouri v. Fiske, 290 U.S. 18, 27, 54 S.Ct. 18, 21 (1933)

      In addition, a state must expressly waive Eleventh Amendment Immunity.

Edelman v. Jordan, 415 U.S. 651, 673, 94 S.Ct. 1347,1361 (1974). Here, the State

of Nevada has expressly retained Eleventh Amendment immunity by statute. NRS

41.031(3). In addition, state agencies, officers and employees are also immune

from civil liability for “any decision or action taken in good faith and without

malicious intent in carrying out the provisions of this chapter or any law or

regulation governing occupational licensing.” NRS 622A.150

      Ms. Morrison cannot be granted relief because neither monetary nor

equitable relief is available from the NSAC in Federal Court. See generally, State of

Missouri v. Fiske, 54 S. Ct. 18, 24-26, 290 U.S. 18, 20 (1933). Accordingly, as a

matter of law, the NSAC is immune from suit and should have been dismissed.




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         b. Director Ratner and Dr. Goodman should have been given

            Discretionary Function Immunity

      Immunizing government officials performing discretionary functions

balances two important interests: the need to hold public officials accountable

when they exercise power irresponsibly, and the need to shield officials from

harassment, distraction, and liability when they perform their duties reasonably.

Immunity balances the “social utility of providing immunity against the social loss

of being unable to attack the immune defendant.” State v. Second Judicial Dist.

Court ex rel. County of Washoe, 118 Nev. 609, 614, 55 P.3d 420 (2002).         NRS

41.032 applies to actions brought against state officers and employees as well as

state agencies. Henry A. v. Willden, 2014 WL 1809634 (2014).

      Discretionary function immunity is governed by the Berkovitz-Gaubert two

part test, which provides that discretionary-function immunity will apply if the

government actions at issue (1) involve an element of individual judgment or

choice and (2) are based on considerations of social, economic, or political policy.

Shafer v. City of Boulder, 596 F.Supp.2d 915, 938 (2012).

      In Nevada, the standard for analysis of discretionary function immunity was

summed up as follows:

            Under this standard, a court does not ask whether the
            official abused his or her discretion, but only whether
            the acts concerned a matter in which the official had
            discretion. In other words, the immunity is not
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             infinitely broad, but once it is determined that the acts
             at issue were within the breadth of the statute, i.e., that
             they involved judgment or choice on social, economic,
             or political policy considerations, the immunity then
             applies even to abuses of discretion. Still, there is no
             discretionary immunity for acts taken in “bad faith,”
             which is a subjective failure that is worse than an
             objective abuse of discretion.
Henry A. v. Willden, 2014 WL 1809634 (internal citations removed)
      On the afternoon of February 10, 1996, the NSAC was informed that the

Boxer had not produced a negative HIV test as required of all unarmed combatants

applying for a license to participate in unarmed combat in Nevada. As the face of

the NSAC, the Executive Director has the responsibility to protect the health and

safety of the fighters. Despite the ability to release medical information pursuant

to NRS 467.1005 and NRS 467.100(3), the NSAC and its Executive Director used

their discretion and for public policy reasons did not release any information,

except to state that the Boxer was not medically cleared to fight.

      In 2007, Dr. Goodman was informed that the Boxer was planning to apply

for a license to fight in Nevada. As head of the Medical Advisory Board, Dr.

Goodman was authorized to speak to the media regarding health and safety issues.

For public policy reasons, and in good faith, she reached out to the laboratory to

make sure that the test used in 1996 was an accurate test. Accordingly, it is

without question the actions of the State Defendants satisfy both prongs of the

Berkovitz-Gaubert test.

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      Because the conduct of the State Defendants involved an element of

individual judgment or choice, and their actions were in good faith, based on

considerations of social, economic, or political policy, and the Plaintiff has failed

to allege that any of the State Defendants acted outside the limits of their authority

or in violation of the Constitution, the State Defendants, NSAC, Goodman and

Ratner were entitled to discretionary function immunity and should have been

dismissed.

                                   CONCLUSION

   Based on the foregoing, the State Defendant’s respectfully request that a this

Honorable Court affirm the Order of the District Court granting the Defendants

Summary Judgment on all claims.

      DATED this 13thth day of March, 2017.

                                       ADAM PAUL LAXALT
                                       Attorney General


                                       By:    s/ Vivienne Rakowsky
                                             VIVIENNE RAKOWSKY
                                             Deputy Attorney General




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      1.     This brief complies with the type-volume limitation of FED. R. APP. P.

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                                       ADAM PAUL LAXALT
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                                             VIVIENNE RAKOWSKY
                                             Deputy Attorney General




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                     STATEMENT OF RELATED CASES

      Attorney General of the State of Nevada, ADAM PAUL LAXALT, by and

through VIVIENNE RAKOWSKY, Deputy Attorney General, hereby certifies and

states that there are no known cases before this Court related to the foregoing case.

      DATED this 13th day of March, 2017.

                                       ADAM PAUL LAXALT
                                       Attorney General

                                       By:    s/ Vivienne Rakowsky
                                             VIVIENNE RAKOWSKY
                                             Deputy Attorney General




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                        CERTIFICATE OF SERVICE

                U.S. Court of Appeals Docket Number: 16-17050

      I hereby certify that I electronically filed the foregoing Appellees’
Answering Brief with the Clerk of the Court for the United States Court of
Appeals for the Ninth Circuit by using the appellate CM/ECF system, on March
13, 2017.

      Participants in the case who are registered CM/ECF users will be served by
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      The following participant is not a registered CM/ECF user and will be
served by Certified US Mail Number 7012 1640 0000 6149 3592 and a courtesy
copy of the Answering Brief (without Appendices) via e-mail.

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                                           /s/ M. Caro
                                     An Employee of the
                                     Office of the Attorney General




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